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                                                 CORPORATE RESOLUTION

                    I, Earnest Blackmon, declare under penalty of perjury, that I am the Director and Chief
            Executive Officer of United Cannabis Corporation (the “Company”), and that on April 18, 2020,
            the following resolutions were duly adopted:

                   “Whereas, it is in the best interest of the Company to file a voluntary petition in the
            United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

                   Be It Therefore Resolved, that Earnest Blackmon, Chief Executive Officer, Chadwick
            Ruby, Chief Operations Officer, and John Walsh, Chief Financial Officer of the Company are
            authorized and directed to execute and deliver all documents necessary to perfect the filing of a
            chapter 11 voluntary bankruptcy case on behalf of the Company;

                    Be It Further Resolved, that Earnest Blackmon, Chief Executive Officer, Chadwick
            Ruby, Chief Operations Officer, and John Walsh, Chief Financial Officer of the Company, are
            authorized and directed to appear in all bankruptcy proceedings on behalf of the Company and to
            otherwise do and perform all acts and deeds to execute and deliver all necessary documents on
            behalf of the Company in connection with such bankruptcy case; and

                    Be it Further Resolved, that the Company is authorized and directed to employ the law
            firm of Wadsworth Garber Warner Conrardy, P.C. to represent the Company in such bankruptcy
            case.”

                    This Corporate Resolution may be executed in counterparts with the same force and
            effect as though all signatures appeared on one original document. Facsimile, scanned and
            electronic signatures are binding and enforceable as if they were originals.

                     Executed on April 18, 2020

                                                             By:
                                                             Name: Earnest Blackmon
                                                             Its: Director and Chief Executive Officer

            APPROVED:


            By:                                              By:
            Name: Earnest Blackmon                           Name: David Scott
            Its: Director and Chief Executive Officer        Its: Director


            By:
            Name: Chadwick Ruby
            Its: President and Chief Operations Officer
